Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 1 of 15




                 Exhibit D
            Declaration of Amir Salimi
          Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 2 of 15




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 2
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     CASEY R. FRONK (Illinois Bar No. 6296535)
 3   Email: fronckc@sec.gov
     SECURITIES AND EXCHANGE COMMISSION
 4
     351 South West Temple, Suite 6.100
 5   Salt Lake City, Utah 84101
     Tel: (801) 524-5796
 6   Fax: (801) 524-3558
 7
                               UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF NEVADA

 9
       SECURITIES AND EXCHANGE
10                                            DECLARATION OF AMIR SALIMI IN
       COMMISSION,                            SUPPORT OF EX PARTE APPLICATION
11                                            FOR ENTRY OF TEMPORARY
                  Plaintiff,                  RESTRAINING ORDER AND ORDERS:
12         vs.                                (1) FREEZING ASSETS; (2) REQUIRING
                                              ACCOUNTINGS; (3) PROHIBITING THE
13                                            DESTRUCTION OF DOCUMENTS; (4)
     MATTHEW WADE BEASLEY;                    GRANTING EXPEDITED DISCOVERY;
     BEASLEY LAW GROUP PC; JEFFREY            AND (5) ORDER TO SHOW CAUSE RE
14
     J. JUDD; CHRISTOPHER R.                  PRELIMINARY INJUNCTION
15
     HUMPHRIES; J&J CONSULTING
     SERVICES, INC., an Alaska Corporation;
16   J&J CONSULTING SERVICES, INC., a
     Nevada Corporation; J AND J
17   PURCHASING LLC; SHANE M.
     JAGER; JASON M. JONGEWARD;
18   DENNY SEYBERT; and ROLAND
     TANNER;
19
                 Defendants,
20
     THE JUDD IRREVOCABLE TRUST;
21   PAJ CONSULTING INC; BJ HOLDINGS
     LLC; STIRLING CONSULTING, L.L.C.;
22   CJ INVESTMENTS, LLC; JL2
     INVESTMENTS, LLC; ROCKING
23   HORSE PROPERTIES, LLC; TRIPLE
     THREAT BASKETBALL, LLC; ACAC
24
     LLC; ANTHONY MICHAEL
25
     ALBERTO, JR.; and MONTY CREW
     LLC;
26
                 Relief Defendants.
27

28




                                               1
           Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 3 of 15




 1            I, Amir Salimi, pursuant to 28 U.S.C. § 1746, declare as follows:
 2            1.       I am over the age of 21 and a resident of the State of Utah.
 3            2.       I make this declaration in support of the United States Securities and Exchange
 4   Commission’s (“Commission”) Ex Parte Application for a Temporary Restraining Order and
 5   related relief.
 6            3.       I have personal knowledge of the matters set forth herein, except as otherwise
 7   noted, and, if called as a witness, I could and would competently testify under oath to the facts
 8   stated herein.
 9            4.       I am a certified public accountant employed within the Division of Enforcement
10   in the Commission’s Salt Lake Regional Office. I have worked within the Commission’s
11   Division of Enforcement since February 2021.
12            5.       I passed the Uniform CPA Examination in Maryland in 2016. My CPA license
13   (No. 01-42317) in Maryland is current and has been active since 2016.
14            6.       Prior to my working at the Commission, from October 2014 to July 2016, I

15   worked at KPMG US LLP, a “big four” public accounting firm, where I provided professional

16   audit services. From August 2016 to February 2021, I worked at Ankura Consulting Group,

17   LLC, where I focused on forensic accounting and financial investigations.

18            7.       In the course of my duties with the Commission, I regularly conduct inquiries and

19   assist in investigations into possible violations of the federal securities laws. My responsibilities

20   include analyzing financial records, including: bank records, other books and records of

21   companies, and other information and documents that have been obtained by Commission staff

22   during the course of investigations. I make calculations and observations based upon my review

23   and analysis of those records, and I prepare spreadsheets and charts summarizing those

24   calculations and observations. The documents that I analyze in the course of my duties with the

25   Commission are of the type reasonably relied upon by accountants forming opinions and

26   inferences about, among other things, the finances of an entity and its sources and uses of

27   money.

28




                                                        2
          Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 4 of 15




 1          8.      As part of my duties as an accountant with the Commission, I was assigned to the
 2   investigation entitled In the Matter of J&J Consulting Services, Inc. (SL-02855), and I analyzed
 3   the bank and financial records of the Nevada law firm of Matthew Beasley, Beasley Law Group
 4   PC, that were produced in response to a subpoena issued by the Commission staff to Wells Fargo
 5   Bank, N.A. (“Wells Fargo”). Bank records produced by Wells Fargo included the following:
 6                  a.     Wells Fargo Interest On Lawyers’ Trust Account (“IOLTA”) No.
 7                         XXXXXX5598 bank records in the name of Beasley Law Group P.C.
 8                         (hereinafter “Beasley IOLTA 5598”) for the period of January 1, 2017
 9                         through March 15, 2022.
10                  b.     A March 29, 2022 declaration of a Wells Fargo custodian of records. A
11                         true and correct copy of that declaration is attached as Exhibit 1.
12                  c.     Account opening documents, including the signature cards for Beasley
13                         IOLTA 5598. A true and correct copy of those documents are attached as
14                         Exhibit 2.

15          9.      Based on my review of the account opening documents for Beasley IOLTA 5598

16   described in paragraph 8 above, I have determined that the account was established in the name

17   of Beasley Law Group PC as a General IOLTA. In particular, Matthew Beasley was the sole

18   signatory on the account from the time it was opened in January 26, 2017. These account

19   opening documents bear a handwritten signature of the name “Matthew Beasley.” The date

20   listed next to this handwritten signature is January 26, 2017. Mr. Beasley is listed as “Owner

21   with Control of the Entity” and as having 100% of ownership. These account opening

22   documents also indicate that Matthew Beasley tendered two forms of identification when

23   opening the Beasley IOLTA 5598: a “DLIC” from Nevada with an expiration date of December

24   2017 and “OTHER DC” from “Bank of Nevada 5195” with an expiration date of March 2018.

25                                 My Review of Beasley IOLTA 5598

26          10.     Based on my review and analysis of Beasley IOLTA 5598 financial records for

27   the period January 2017 through March 15, 2022, which include monthly bank statements, I have

28   made the following observations and calculations:




                                                     3
             Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 5 of 15




 1             11.    From January 2017 through March 15, 2022, $491.5 million was deposited into
 2   Beasley IOLTA 5598.
 3             12.    My review of Beasley IOLTA 5598 identified a pattern of deposits being made in
 4   increments of $40,000, $50,000, $80,000 or $100,000. Based on an analysis of deposits in the
 5   Beasley IOLTA 5598, I have determined that the vast majority of the $491.5 million of deposits,
 6   were made in these increments 1. In my review of the account transactions, I did not identify any
 7   transactions consistent with investment activity related to litigation settlements. I did not
 8   identify any transactions that appear to be returns or proceeds from investments, including from
 9   insurance tort settlements. For example, I did not observe any incoming cash from personal
10   injury law firms, lawyers, insurance companies, or tort claimants that would result from returns
11   on insurance tort settlements.
12                    a.      As discussed further below, I observed a pattern of suspected Ponzi
13                            activity in the Beasley IOLTA 5598 that began as soon as deposits were
14                            received in this account around late January 2017, which included the

15                            receipt of cash in increments of $40,000, $50,000, $80,000 or $100,000,

16                            followed by immediate transfers to individuals believed to be involved

17                            with promoting the investments offered by J&J Consulting Services, Inc.

18                            (Alaska), J&J Consulting Services, Inc. (Nevada), and/or J and J

19                            Purchasing LLC.

20                    b.      This pattern of Ponzi activity grew substantially over the years, as is

21                            detailed in the table below. 2 The average of monthly deposits into the

22                            Beasley IOLTA 5598 grew from approximately $584,000 in 2017 to $20.4

23

24

25
     1
         Without access to company records, such as investor files, I am unable to quantify investor
26
     deposits or investor returns at this time.
27
     2
         The average monthly deposits for the year 2022 were based on records from January and
28
     February 2022 (the months for which I have reviewed and obtained complete bank statements).



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          Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 6 of 15




 1                         million in 2021. This activity reached its peak in February 2022, when
 2                         deposits of $30.1 million were made into the Beasley IOLTA 5598.
 3

 4                                       Beasley IOLTA Account

 5                                         Wells Fargo - 5598

 6          Year             Average Monthly Inflows              Average Monthly Outflows

 7          2017                                583,907                           (546,036)

 8          2018                               1,370,127                         (1,291,958)

 9          2019                               4,147,822                         (4,096,741)

10          2020                               9,240,054                         (9,045,776)
11          2021                             20,435,193                         (20,317,308)
12          2022                             28,399,421                         (30,110,959)
13

14
            13.     From January 2017 through March 15, 2022, $487 million was disbursed from the
15   Beasley IOLTA 5598. My review and analysis of the account transactions did not identify any
16   disbursements from this account that are consistent with making advance payments to tort
17   plaintiffs, or their lawyers and associated law firms who had reached settlements with insurance
18   companies. Below is a high level summary of the use of funds from the Beasley IOLTA 5598
19   from January 1, 2017 to March 15, 2022:
20                  a.     Jeffrey Judd received directly or benefited from disbursements of at least
21                         $315.3 million, including disbursements to:
22                             i. Jeffrey Judd: $131,850
23                             ii. J & J Consulting Services: $313.7 million
24                            iii. The Judd Irrevocable Trust: $1.4 million
25                  b.     Shane Jager received directly or benefited from disbursements of at least
26                         $37.3 million including disbursements to:
27                             i. Shane Jager: $140,500
28                             ii. Stirling Consulting, L.L.C.: $37.2 million



                                                     5
           Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 7 of 15




 1                  c.      Christopher Humphries received directly or benefited from
 2                          disbursements of at least $31.1 million, including disbursements to:
 3                              i. CJ Investments LLC: $31.0 million
 4                              ii. BugRaiders Pest Control, LLC: $55,000
 5                  d.       Matthew Beasley received directly or benefited from disbursements of at
 6                          least $17.2 million, including disbursements to:
 7                              i. Matthew W. Beasley: $80,000
 8                              ii. Beasley Law Group, PC: $17.1 million
 9                  e.      Denny Seybert received directly or benefited from disbursements of at
10                          least $746,000 in disbursements to Rocking Horse Properties, LLC
11                  f.      Anthony Michael Alberto, Jr. received directly or benefited from
12                          disbursements of at least $6.8 million, including disbursements to:
13                              i. Anthony Michael Alberto, Jr.: $4.0 million
14                              ii. Monty Crew LLC: $2.9 million

15                  g.      PAJ Consulting Inc (“PAJ”) received at least $824,500.

16                  h.      BJ Holdings LLC received at least $500,000.

17                  i.      ACAC LLC received at least $11.7 million.

18          14.     As illustrated below, approximately $411 million or approximately 84% of the

19   funds transferred out of the Beasley IOLTA 5598 from January 2017 to March 15, 2022 were to

20   entities identified as controlled by promotors in the Declaration of Joni Ostler (filed

21   contemporaneously herewith), as follows:

22                  a.      J &J Consulting Services: $313.7 million

23                  b.      Stirling Consulting LLC: $37.2 million

24                  c.      CJ Investments LLC: $31 million

25                  d.      Beasley Law Group PC: $17.1 million

26                  e.      Triple Threat Basketball, LLC: $12.3 million

27          15.     The primary source of cash into the Beasley IOLTA 5598 were deposits made in

28   increments of $40,000, $50,000, $80,000, and $100,000. I did not identify any inflows into the




                                                       6
           Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 8 of 15




 1   Beasley IOLTA 5598 consistent with investment activity related to litigation settlements, such as
 2   returns on investments in tort settlements. As such, it appears that some of the funds deposited
 3   into the Beasley IOLTA 5598, which appear to be investor funds, were used to make Ponzi-like
 4   “return” payments to other investors. For example, my review of the Beasley IOLTA 5598 bank
 5   records indicate a payment was made to an individual (who was not a promotor or a relative of
 6   Beasley or Judd) on November 8, 2018 in the amount of $5,000, which could represent a 12.5%
 7   quarterly return percentage on an initial investment of $40,000 (which I understand from other
 8   SEC Staff would have been the purported quarterly return). Based on a review of the transaction
 9   activity and account balance in the account prior to this distribution, I did not identify any
10   income generated from investment activities such as investment in tort settlements in the account
11   that could have been used to make this distribution, leading me to conclude that this return
12   payment was made from investor funds.
13          16.     Funds deposited in the Beasley IOLTA 9558 were also used for apparent personal
14   expenses such as a $95,486 cash purchase from “CJF Automotive, LLC” on September 8, 2021.

15   Based on a review of the transaction activity and account balance in the account prior to this

16   distribution, I did not identify any income generated from investment activities such as

17   investments in tort settlements in the account that could have been used to make this purchase. I

18   also identified other disbursements that appear to be personal expenses directly paid out of the

19   Beasley IOLTA 5598, such as payments of over $4 million to title companies, presumably for

20   the purchase of real estate.

21          -

22          I declare under penalty of perjury that the foregoing is true and correct.

23          Executed this 12th day of April, 2022 in Salt Lake City, Utah.

24

25

26                                                  /s/ Amir Salimi

27                                                  Amir Salimi

28
     _________


                                                       7
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 9 of 15




                  Exhibit 1
                     Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 10 of 15
                                                                                                                  Summons and Subpoenas Department
                                                                                                                  PO Box 29728 S4001-01F
                                                                                                                  Phoenix, AZ 85038
                                                                                                                  Voice: (480)724-2000




                                                  BUSINESS RECORDS DECLARATION
I, Terry Holland, am over the age of eighteen and I declare that I am employed by Wells Fargo Bank, N.A. ("Wells Fargo") in the
Summons and Subpoenas Department and am a duly authorized and qualified witness to certify the authenticity of the attached
documents and/or information produced pursuant to the legal order. Wells Fargo reserves the right to designate another
Custodian as it deems appropriate in the event an actual appearance is required concerning the records produced. I certify that
the attached records:
       A)     Were prepared by personnel of Wells Fargo in the ordinary course of business at or near the time of the acts,
              conditions or events described in the records; and
       B)     It was the ordinary course of business for Wells Fargo employees or representatives with knowledge of the act, event,
              or condition recorded to make the record or transmit the information therein to be included in such record.
       C)     The records attached are true and correct copies of the business records as maintained by Wells Fargo.

The records produced are described as follows:

                                                                 Case number: 26395909
                                                                                                                                     Paper                Total
                                                                                                                                     Count               Copies
Document Type                                         Account #
Signature Cards                                       XXXXXX6358                                                                          5                        5
Statements                                            XXXXXX5598                                                                        372                      372
Statements                                            XXXXXX5580                                                                        310                      310
Signature Cards                                       XXXXXX5580                                                                          5                        5
Statements                                            XXXXXX6358                                                                        152                      152
Signature Cards                                       XXXXXX5598                                                                          4                        4
Statements                                            XXXXXX8898                                                                 50                               50
Signature Cards                                       XXXXXX8898                                                                   4                               4
                                                                                                           Total Copies Delivered:                               902



Additional comments:

The bank's standard record retention period is seven years.

I declare under penalty of perjury under the law(s) of the state of Utah that the foregoing is true and correct according to my
knowledge and belief. Executed on this 29th day of March, 2022, in the City of Tempe, State of ARIZONA.




 Subpoena Processing Representative

 Image copies of requested transactions may be missing for the following reasons:     Items not imaged, corrupted, blank, damaged, destroyed or not available,
 item(s) piggy-backed, electronic transaction(s). If the legal order requests certain types of loan information and other non-depository information, it was
 forwarded to other departments and they will respond to you directly.




                                                  Case No: 26395909; Agency Case No: SL02855


                                                                              1 of 1
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 11 of 15




                  Exhibit 2
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 12 of 15
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 13 of 15
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 14 of 15
Case 2:22-cv-00612-CDS-EJY Document 2-8 Filed 04/13/22 Page 15 of 15
